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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                               Eastern Division

Richard Golden, et al.
                                 Plaintiff,
v.                                                    Case No.: 1:16−cv−02440
                                                      Honorable Andrea R. Wood
Jang H. Lim
                                 Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, November 28, 2017:


       MINUTE entry before the Honorable Andrea R. Wood: Status hearing set for
11/30/2017 is stricken and reset for 1/10/2018 at 09:00 AM. Mailed notice(ef, )




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